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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:10CR193
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
DEANDRE W. ROBINSON,                         )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s pro se motion for reconsideration

of the Court’s previous Memorandum and Order denying the motion for a potential

reduction in sentence (Filing No. 126).

      IT IS ORDERED:

      1.     The Defendant’s motion for reconsideration (Filing No. 126) is denied; and

      2.     The Clerk is directed to mail a copy of this Order to the Defendant at his last

             known address.

      DATED this 5th day of June, 2012.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
